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      in his official capacity as Director of
  9   the Department of Justice Bureau of
      Firearms
 10
                       IN THE UNITED STATES DISTRICT COURT
 11
                    FOR THE SOUTHERN DISTRICT OF CALIFORNIA
 12
 13
 14
 15   Matthew Jones, et al.,                        3:19-cv-01226-L-AHG
 16                                   Plaintiffs,
 17               v.                           JOINT MOTION FOR
                                               MODIFICATION OF DISCOVERY
 18                                            DEADLINES IN LIGHT OF ORAL
      Xavier Becerra, in his official capacity ARGUMENT IN
 19   as Attorney General of the State of      INTERLOCUTORY APPEAL
      California, et al.,
 20                                            Dept:   5B
                                  Defendants.
 21                                            Judge:  The Honorable M. James
                                                       Lorenz and Magistrate
 22                                                    Judge Alison H. Goddard
 23                                                 Final Pretrial Conference
                                                    Date:         November 15, 2021
 24
                                                    Action
 25                                                 Filed:        July 1, 2019
 26                                                 First Amended Complaint
                                                    Filed:     July 30, 2019
 27
                                                    Second Amended Complaint
 28                                                 Filed:    November 8, 2019
                 Joint Motion for Modification of Discovery Deadlines in Light of Oral Argument in
                                                     Interlocutory Appeal (3:19-cv-01226-L-AHG)
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  1         Plaintiffs Matthew Jones, et al., and Defendants Xavier Becerra (in his
  2   official capacity as Attorney General of the State of California) and Luis Lopez (in
  3   his official capacity as Director of the Department of Justice Bureau of Firearms),1
  4   through their respective counsel of record and pursuant to Civil Local Rules 7.1 and
  5   7.2, hereby jointly move the Court for a small modification of the expert and fact
  6   discovery deadlines set forth in the operative scheduling orders in this matter in light
  7   of the scheduling of oral argument in the pending interlocutory appeal of this
  8   Court’s denial of Plaintiffs’ motion for preliminary injunction. ECF No. 71, 73.
  9   This joint motion is supported by the declaration of Jennifer E. Rosenberg, filed
 10   concurrently herewith.
 11         The parties previously sought four modifications of the Court’s original
 12   scheduling order. The first modification moved all dates set forth in the Court’s
 13   original scheduling order by approximately 5 to 6 weeks; the second moved solely
 14   the fact discovery deadline from November 6, 2020 to December 15, 2020; the third
 15   moved all dates out by approximately 2-3 months due to the denial of Plaintiffs’
 16   motion for preliminary injunction and interlocutory appeal of that denial; and the
 17   fourth extended solely the deadline for close of fact discovery. See ECF Nos. 57,
 18   58, 64, 65, 70, 71, 72, 73; see also Jones v. Becerra, No. 20-56174 (9th Cir. Dec.
 19   23, 2020), ECF No. 23, Trans. ID 11938842 (Ninth Circuit order setting modified
 20   appellate briefing schedule). This joint motion seeks a small three-week extension
 21   of solely the discovery deadlines in this matter in light of the scheduling of oral
 22   argument in the Ninth Circuit in this matter on May 12, 2021. See Jones v. Becerra,
 23   No. 20-56174 (9th Cir. Feb. 28, 2021), Trans. ID 12018921. This joint motion does
 24   not seek to modify any other dates set forth in the Court’s operative scheduling
 25   orders.
 26         Good cause exists for the requested modification.
 27         1
             Pursuant to Rule 25(d) of the Federal Rules of Civil Procedure, Director
      Luis Lopez is automatically substituted as a defendant in this matter in place of his
 28   predecessor, former Acting Director Brent E. Orick.
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  1   I.      RELEVANT PROCEDURAL BACKGROUND
  2           Plaintiffs filed their First Amended Complaint for Declaratory and
  3   Injunctive Relief (FAC) on July 30, 2019 and served the FAC and summons on
  4   August 1, 2019. ECF No. 3; ECF No. 5 at 1, n.2. A case management conference
  5   was held before Magistrate Judge Goddard on October 9, 2019, ECF No. 15 at 1,
  6   and thereafter, Plaintiffs filed a Second Amendment Complaint, ECF No. 20.
  7   Plaintiffs then filed a motion for a preliminary injunction on November 12, 2019,
  8   which Defendants opposed. ECF Nos. 21 & 25.
  9         In the Joint Case Management Statement the parties filed in advance of the
 10   October 9, 2019 case management conference with Magistrate Judge Goddard, as
 11   well as during the case management conference, the parties notified the Court that
 12   they planned to wait to conduct discovery until after resolution of Plaintiffs’
 13   preliminary injunction motion, and proffered the joint view that it would be
 14   premature to set a discovery schedule until after resolution of that motion. ECF No.
 15   11 at 13, 20, 22; see also ECF Nos. 21 & 57. The parties desired to delay discovery
 16   in part because they anticipated that there would be an interlocutory appeal of any
 17   order on the preliminary injunction motion. ECF No. 11 at 22. Nonetheless, in
 18   accordance with the directions in Magistrate Judge Goddard’s ENE order, the
 19   parties proposed in their Joint Case Management Statement a set of discovery and
 20   pre-trial deadlines tied to resolution of the preliminary injunction motion. Id. at 22-
 21   23 [the parties assuming at that time, for purposes of proposing dates, that the
 22   preliminary injunction motion would be heard and resolved in early 2020]. The
 23   Court issued its original scheduling order after the case management conference;
 24   that order set the original date for close of fact discovery at September 23, 2020.
 25   ECF No. 15.
 26         In July 2020, the parties jointly sought modification of the Court’s original
 27   scheduling order on several grounds, including that the parties had originally wished
 28   to wait to conduct discovery until after resolution of the preliminary injunction
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  1   motion, and the need for the parties to adjust the discovery process to the current
  2   COVID-19 pandemic. ECF No. 57. The Court granted the parties’ request, and
  3   issued an order modifying the dates set forth in the original scheduling order.
  4   ECF No. 58. In October 2020, the parties sought a short extension of 30-40 days of
  5   the deadline set for fact discovery in order to permit the parties to work together to
  6   resolve disagreements regarding discovery responses and productions, to
  7   accommodate scheduling of depositions in light of illness, individual plaintiffs’
  8   school exams, and work schedules, and in light of counsels’ unusually heavy
  9   caseloads on this and other matters due to the pandemic and other factors. ECF No.
 10   64. The Court granted that extension, moving the close of fact discovery to
 11   December 15, 2020. EC. No. 65.
 12         The Court denied Plaintiffs’ motion for preliminary injunction on November
 13   3, 2020, six days after entry of the Court’s order granting the parties’ previous
 14   request to extend the deadline for the close of fact discovery in this matter. ECF
 15   Nos. 65, 66 (“Preliminary Injunction Order”). Plaintiffs filed their notice of appeal
 16   of the Preliminary Injunction Order on November 6, 2020. ECF. No. 67. Because
 17   of the expedited nature of the interlocutory appeal, the briefing schedule set by the
 18   Ninth Circuit required the parties to complete the appellate briefing on an expedited
 19   basis. Jones v. Becerra, No. 20-56174 (9th Cir. Nov. 10, 2020), ECF No. 4, Trans.
 20   ID 11888196. According to a modified briefing schedule, the parties’ briefs on
 21   appeal were due in December 2020 and January and February 2021. Jones v.
 22   Becerra, No. 20-56174 (9th Cir. Dec. 23, 2020), ECF No. 23, Trans. ID 11938842.
 23   Because of the expedited schedule in the Ninth Circuit, the parties sought an
 24   extension of time on all deadlines in this matter of approximately 2-3 months to
 25   alleviate some of the burden the parties bore in simultaneously briefing the appeal
 26   and conducting fact and expert discovery. See ECF No. 70. This Court granted that
 27   motion for good cause shown on November 12, 2020. See ECF No. 71.
 28
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  1         On January 29, 2021, the parties jointly moved to extend the close of fact
  2   discovery to one week after the close of expert discovery in light of the ongoing
  3   appellate briefing, conflicts in the schedules of the parties and counsel due to
  4   professional obligations and unexpected personal needs, and the parties’ ongoing
  5   discovery efforts. See ECF No. 72. This Court granted that request for good cause
  6   shown on February 1, 2021. ECF No. 73.
  7         Briefing in the interlocutory appeal was completed on February 9, 2021.
  8   Jones v. Becerra, No. 20-56174 (9th Cir. Feb. 9, 2021), ECF No. 44, Trans. ID
  9   11997833. On February 28, 2021, the Ninth Circuit notified the parties that oral
 10   argument in the interlocutory appeal is set for May 12, 2021. See Jones v. Becerra,
 11   No. 20-56174 (9th Cir. Feb. 28, 2021), Trans. ID 12018921.
 12
 13   II.      GOOD CAUSE EXISTS TO MODIFY THE SCHEDULING ORDER
 14         Counsel for the parties have met and conferred, and agree that an extension of
 15   time on both the expert and fact discovery deadlines set in this matter is warranted.
 16   As the parties informed the Court in previous requests, they continue to work
 17   through exchanging discovery responses and resolving disagreements about the
 18   scope of discovery responses. Several depositions of the parties remain to be taken.
 19   Declaration of Jennifer Rosenberg ¶¶ 2-4, 8. During December, January, and
 20   February, the parties have been engaged in briefing the important issues presented in
 21   Plaintiffs’ interlocutory appeal of this Court’s Preliminary Injunction Order, and
 22   they will need to devote significant time and resources to preparing for the oral
 23   argument of that appeal in the coming months. See Rosenberg Decl. ¶¶ 5-6. Under
 24   the current operative scheduling orders, expert reports and disclosures are due
 25   March 16, rebuttal expert reports and disclosures are due April 16, the close of
 26   expert discovery is set for May 7, and the close of fact discovery is set for May 14.
 27   ECF Nos. 71 & 73. These discovery deadlines, including the time period within
 28
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  1   which expert depositions must occur, thus overlap substantially with the preparation
  2   time for the May 12 oral argument, as well as the argument itself. Id.
  3         In addition, counsel for Plaintiffs and Defendants have simultaneously been
  4   engaged in trials and arguments in other matters occurring in January and February
  5   2021. Rosenberg Decl. ¶ 7.
  6         All parties wish to ensure that they have adequate time to prepare their
  7   discovery responses and expert reports and disclosures with care, as well as to
  8   prepare for depositions of both fact and several expert witnesses. In light of the
  9   outstanding discovery requests and depositions, conflicts in the schedules of the
 10   parties and counsel due to professional obligations and personal needs, and the
 11   scheduling of oral argument in the interlocutory appeal in the middle of discovery
 12   deadlines in this Court, the parties agree that a small extension of approximately
 13   three to four weeks for both expert and fact discovery deadlines will benefit all
 14   parties, providing necessary flexibility to reschedule depositions and complete
 15   exchange of written discovery, exchange expert reports, and conduct expert
 16   depositions. Id. ¶ 8. Therefore, the parties jointly request modification of the
 17   operative scheduling orders to extend the fact and expert discovery deadlines by
 18   approximately three to four weeks. Id. ¶ 9.
 19         The parties do not request modification of any of the remaining dates set forth
 20   in the Court’s operative scheduling order.
 21
 22
            WHEREFORE:
 23
            The parties hereby jointly request that the Court issue an order modifying the
 24
      discovery deadlines set in the operative scheduling orders (ECF Nos. 71 & 73) as
 25
      follows:
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  1    Action                      Current Deadline                   New Deadline
             Expert witness        Tuesday, March 16, 2021            Friday, April 2, 2021
  2
             designations to be
  3          made in writing
  4          Compliance with
             disclosure
  5          obligations under
  6          Federal Rule of Civil
             Procedure
  7          26(a)(2)(A) and (B)
  8
             Exchange of rebuttal Friday, April 16, 2021              Friday, April 30, 2021
  9          expert witnesses
 10          Supplementation of
             parties’ disclosures
 11          regarding
 12          contradictory or
             rebuttal evidence
 13          under Rule
 14          26(a)(2)(D)
 15          Expert discovery to       Friday, May 7, 2021            Friday, June 11, 2021
 16          be completed

 17          Close of fact             Friday, May 14, 2021           Friday, June 11, 2021
 18          discovery

 19    Remaining deadlines to follow those set forth in the operative scheduling order.
       See ECF No. 71.
 20
 21
            Although the parties do not anticipate seeking further modification in the
 22
      future, they also jointly request that the Court’s order modifying the scheduling
 23
      order reserve the parties’ ability to seek the Court’s approval of further
 24
      modifications for good cause should the need to do so arise.
 25
 26
            A proposed order will be lodged with the Court concurrently with submission
 27
      of this joint motion.
 28
                                                    6
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                                                      Interlocutory Appeal (3:19-cv-01226-L-AHG)
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  1   Dated: March 5, 2021                                 Respectfully Submitted,
  2                                                        XAVIER BECERRA
                                                           Attorney General of California
  3                                                        MARK BECKINGTON
                                                           Supervising Deputy Attorney General
  4
  5
  6                                                        _/s/ Jennifer E. Rosenberg________
                                                           JENNIFER E. ROSENBERG
  7                                                        Deputy Attorney General
                                                           Attorneys for Defendants Xavier
  8                                                        Becerra, in his official capacity as
                                                           Attorney General of the State of
  9                                                        California, and Luis Lopez, in his
                                                           official capacity as Director of
 10                                                        the Department of Justice Bureau of
                                                           Firearms
 11
 12                                                        DILLON LAW GROUP, APC
 13
 14
                                                           _/s/ John Dillon_________________
 15                                                        JOHN DILLON
                                                           Attorney for Plaintiffs
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  1      Certification re: Electronic Signatures Pursuant to Electronic Case Filing
              Administrative Policies and Procedures Manual, Section 2(f)(4)
  2
  3         I, Jennifer E. Rosenberg, hereby certify and attest that the content of this
  4   document is acceptable to all persons required to sign the document and that I have
  5   obtained authorization for use of the electronic signatures of all parties on the
  6   document, including Mr. John Dillon, Attorney for Plaintiffs.
  7
  8
      Dated: March 5, 2021
  9
 10
 11                                                    _/s/ Jennifer E. Rosenberg________
                                                       JENNIFER E. ROSENBERG
 12                                                    Deputy Attorney General
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